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UNITED STATES DI_STRICT COURT
MIDI)LE DISTRICT OF FLORI])A

 

JACKSONVILLE DIVISION
SAD]E EADY, vigil
`3'>* 1“3-:5
Plaintiff, §~a;=
w..i-:::,
V. |.‘§"_-£11_;}
CASE NO.; _4~¢';§§
HUNTER wARFiisLD, me 3 \@M,QT$-\j»?,bt;j@ UBEB w
€\'”_'.'»'.
`e:"\;
Defendant_ ;;';3`;_;.{__l
f ?3;
51 _
M
l. Unwanted “Roboealls arc the #l consumer complaint in /\merica today
2. °
ln 2014,

Thc people eomplaininv about harassing roboealls is increasing at an alarmrnv rate

Communieations Colnrnission (FCC), in 2015 this number was 2,636 4?? and iri 2016 it was

3 831 62? In 70 l 'F between January and August the FTC alone has received more than 3 500 000
robocal| complaints
3.

Hunter Waifield lnc. robocalled the Plaintiff more than 65 times
4.

l~[unter War['e|d |nc has a corporate policy to robocall people thousands oftimes
5.

“Senator Hol|inUs the `ICPA”s sponsor, described these calls as the seourvc of
modern civilization They wake us up in the mornin

they interrupt our dinner at night; they Forec
the sick rind eldeer out of bed they bound us until we want to rlp the telephone out of the wall
137 Cong. Ree. 30, 821 (l991)

Scnator llollings presumably intended to nivc telephone
subscribers another option: telling the autodialers to slrnply stop eallini_

Os'or.f`o 1', Stctfe Fo:'m

' It ls important to iLcoanizc these mcrel_\ rciln.ct the number o|`indi\-'iduals that complained to these avencics the
number ot people that have been victimized by illegal roboca[|irig abuse could bc close to 100 000 000 in thc last 3
years

‘ ` c c ,
1949 603 complained to the Federal Trade Cornlntssion (FIC) and cheral

 

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Br.'nk, F.S.B.. ?46 F. 3d 1242, 1256 (1 lth Cir. 2014). Despite the penalties put in place over 26
years ago, robocall abuse continues to skyrockct.

6. Plaintiff, Sadie Eady, alleges Defendant, Hunter Wart`leld, [nc., robocalled her
more than 65 times in stark violation o'|" the Telcphone Consumer Protection Act, 4? U.S.C. § 222
ct .\‘eq. (“TCPA”), the Fair Debt Collection Practices Actq 15 U.S.C. § 1692 e!. seq. ("`FDCPA"),
the Florida Consumer Collection Practices ri‘tct1 Fla. Stat. § 559.55 ct .seq_ (“FCCPA"), lnvasion of
Privacy (“IOP”), and lntentional lnfliction of Emotional Distress ("lIED”).

?. Robocalls are very inexpensive to make As vvas noted in a Senate hearing on the
subject “With such a cheap and scalable business mode|, bad actors can blast literally tens ot`
millions of illegal robocalls over the course of a single day at less than l cent per minute.”
Stopping Fraudulent Robocall Scams: Can More Be Done?: Hearing Before the Subcomm. on
Consumer Prot., Prod. Sal"ety1 and lns. of the S. Comm, on Commerce, Sci., and Transp., 113
Cong. 113-|1? (2013) (staternent of Lois Greisman, Assoc. Director, Division of Marketing
Practiees, Bureau ofConsumer Protection, Federal Trade Commission).

S. The 'l`CPA was enacted to prevent companies like Hunter Warl'“ield, Inc.l"rorn
invading American citizens’ privacy and prevent illegal robocalls.

9. Congress enacted the TCPA to prevent real harm, Congress Found that "automated
or pre-recorded calls are a nuisance and an invasion of privacy, regardless oFthe type ot` cal|" and
decided that "banning" such calls made without consent vvas "thc only effective means of
protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,
§§ 2(10-13) (Dec, 20, 1991), codified at 4? U.S.C. § 22?; see also Mt`ms v. xlri‘ot-v Ft`n. Sei*vs'., LLC,

132 S. Ct. ?40, 244 (2012) (“The Act bans certain practices invasive of privacy”).

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10. According to findings by the FCC_the agency Congress vested with authority to
issue regulations implementing the 'l`CPA_-such calls are prohibited because, as Congress found,
automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live
solicitation calls_. and such calls can be costly and inconvenient. The FCC also recognized that
wireless customers are charged for incoming calls whether they pay in advance or after the minutes
are used.

JU`RIS|)ICTION AND VENUE
1 l. Jurisdiction and venue For purposes of this action are appropriate and conferred by

23 U.S.C, §1331.

 

12. Violations described in the Complaint occurred while Plaintit`f was in Jacl\'sonvilie,
F|orida,
FACTUAL ALLEGATIONS
13. Plaintiff is a natural person and citizen ot` the State ot` FL, residing in lacksonville,
Florida.

14. Plaintitf is a c‘consumer” as defined in Florida Statute § 559.55(8) 15 U.S,C, §
1692(21)(3).
15. Plaintit`F is an “alleged dcbtor.”

16. Plaintit`t` is the “callcd party.” See Breslow v. Wells Fargo Bank, N.A.. ?55 F, 3d
1265 (l lth Cir. 2014}; Osorio v. State Farm Bank, F.S,B., 146 F. 3d 1242 (11tb Cir. 2014].

1?. Defendant is a Foreign Protit Corporation with its principal place of business in
Tampa, Florida, and conducts business in the State of F|orida.

lS. Defendant is a “debt collectol"1 as defined by Florida Statute § 559.55(?`) and 15

u.s.c.§ isaz(a)(iz).

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19. The debt that is the subject matter ofthis complaint is a "consumer debt" as defined
by Florida Statute § 559.55(6) and 15 U.S.C. § 1692(a)(5).

20. Plaintiff is the regular user and carrier of the cellular telephone number at issue,
(904) ?90-0446.

21. Plaintil`l` was the "ca|led party” during each phone call subject to this lawsuitv

22. Def`endant intentionally harassed and abused I’laintiff` on numerous occasions by
calling several times during one day, and on back to back days, with such frequency as can
reasonably be expected to harass.

23, Defendant did not have the “express consent"` of the Del"endant to call her cell

24. “Exprcss consent” is narrowly construed by the Courts.

25. It is thc Defendant`s burden to prove they had "express consent” per the TCPA to
call the Plaintit`f on her cell phone using an “automatic telephone dialing system” (ATDS).

26. lt is the Defendant’s burden to prove they had “express consent” per the 'l`CPA to
call the P|aintiff on her cell phone using an ATDS for each account they were calling on.

2”;'. Det`endant was put on notice Plaintiff did not want the Detendant contacting her.

28. Defendant was told repeatedly to stop calling2

29. Plaintiff expressly revoked any express consent Defcndant may have mistakenly
believed it had for placement of telephone calls to Plaintift"s aforementioned cellular telephone

number by the use of an ATDS or a pre-recorded or artificial voice,

 

2 Det`endant should have the call logs showing the exact number of'cal|s and the recordings which should illustrate
exactly what was said to thc Defcndant.

4

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30. Def`endant attempted to collect a debt from the Plaintiff by this campaign of
telephone calls

31 . Det`endant made at least one call to (904) 790-0446.

32. Det`endant made at least one call to (904) ?90-0446 using an ATDS.

33. Def`endant made at least ten (10) calls to (904) 790-0446.

34, Delendant made at least ten (10) calls to (904) ?90~0446 using an A'l`DS.

35. Dei`endant made at least sixty-five (65} calls to (904) ?90~0446,

36. Del"endant made at least sixty-five (65) calls to (904) ?90~0446 using an ATDS.

3?. Each call the Defendant made to (904) ?90-0446 in the last two years was made
using an ATDS.

33. Each call the Defendant made to the Plaintift"s cell phone was done so without the
“express permission" of the Plaintil'l".

39. Defendant has called other people’s cell phones without their express consent.

40. Each call the Defcndant lnade to the Plainti'Fl" was made using an rit"l`l:)S_1 which has
the capacity to store or produce telephone numbers to be called, without human intervention, using
a random or sequential number generator; and to dial such numbers as specified by 41 U.S.C §
22?(21)(1),

41. The calls at issue were placed by the Def`endant using a “prerecorded voice,” as
specified by the TCPA, 4?' U.S.C. §22?(b)(1)(A).

42. Plaintiff repeatedly requested the Def`endant to stop calling her cell phone,
however, the Defendant continued to make calls.

43. Det"'endant has admitted to calling cell phones using an ATDS after that person

asked f`or the calls to stop.

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44. Plaintil"f"s conversations with the Defendant putting them on notice that they did
not want more phone calls were ignored

45. De'fendant has recorded at least one conversation with the Plaintiff,

46, Defendant has recorded numerous conversations with the l’laintiff`.

4?. Defendarit has made approximately sixty-five (65} calls to Plaintiff"s
aforementioned cellular telephone number since in or about May of2016 which will be established
exactly once Defendant turns over their dialer records

48. Despite actual knowledge of their wrongdoing the Defendant continued the
campaign of abusive robocalls.

49. Defendant has been sued in federal court where the allegations include: calling an
individual using an ATDS after the individual asked for the calls to stop.

50, By effectuating these unlawful phone calls, Defendants have caused Plaintiff the
very harm that Congress sought to prcvent_-namely, a "nuisance and invasion of privacy."

51. Defendant’s aggravating and annoying phone calls trespassed upon and interfered
with Plaintiff’s rights and interests in her cellular telephone and cellular telephone line, by
intruding upon Plaintiff"s seclusion.

52. Det`endant’s phone calls harmed Plaintiff by wasting her time,

53. Moreover, "wireless customers [like Plaintif_`f] are charged for incoming calls
whether they pay in advance or after the minutes are used." ln re: Rulcs lmplementing the `l`CPA
ot` 1991J 23 FCC Rcd 559, 562 (200?]. De'fendant’s phone calls harmed P|aintiff by depleting the
battery life on her cellular telephone._ and by using minutes allocated to Plaintiff by her cellular

telephone service provider.

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54. Defendant’s corporate policy and procedures are structured as to continue to call
individuals like the Plaintiff_. despite these individuals revoking any consent the Defendant may
have mistakenly believed it had.

55. Defcndant’s corporate policy and procedures provided no means for the Plaintiffto
have her aforementioned cellular number removed from the call |ist.

56. Defendant has a corporate policy of using an ATDS or a prerecorded or artificial
voice message to collect debts from individuals such as Plaintift` for its financial benefit

5?. Defendant has numerous other federal lawsuits pending against them alleging
similar violations as stated in this complaint

58. In the last 3 years, the Defendant has had 496 complaints reported to the Better
Business Bureau (BBB), of which 429 of those complaints are classified as being related to
“Billinngollection lssues.”B

59. Since l\/lay 2014, Defendant has had l | l complaints classified under
"communications tactics” filed against it with the Consumer Financial Protection Bureau. 4

60v Plaintil`f expressly revoked any consent Defendant may have mistakenly
believed it had for placement of telephone calls to Plaintift"s aforementioned cellular telephone by
the use of an ATDS or a pre-recorded or artificial voice immediately upon Defendant’s placement
o'fthe calls. Making money while breaking the law is considered an incentive to continue violating

the TCPA and other state and federal statutes.

 

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4 Consumer Fi'nnncirrt‘ Pi'orecti'on Biireaii, drii'ri. coiisiiiiiei_‘;‘inance. gov

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61. Defendant never had the Plaintifl"'s expressed consent for placement of telephone
calls to her aforementioned cellular telephone by the use of an ATDS or a prc-recorded or artificial
voice.

62. None of Defendant"s telephone calls placed to Plaintiff` were for “emergency
purposes” as specified in 42 U.S.C. §ZZF(b](l)(/l\).

63. Defendant violated the 'l`CPA, l~`DCPA and FCCPA with respect to the Plaintiff.

64. Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff.

COUNT l
(Violation of the TCPA)

65. Plaintiffincorporates Paragraphs one (1) through sixty-four (64).

66. Defendant willfully violated the TCPA with respect to the Plaintiff each time they
called the Plaintiff after she revoked her consent to be called by them using an ATDS or pre-
recorded voicc.

6?. Dcfendant knowingly violated the TCPA with respect to the Plaintiff, especially for
each of the auto-dialed calls made to Plaintift"s cellular telephone after Plaintiff revoked her
consent to he called by them using an ATDS or pre-recorded voice.

68. Defendant, H unter Warfield, lnc. repeatedly placed non-emergency telephone calls
to the wireless telephone number of Plaintiff using an automatic telephone dialing system or
prerecorded or artificial voice without Plaintiff"s prior express consent in violation of federal 1aw,
including 4? U.S.C § 227(b)(1)(A)(iii).

69. As a result of Def`endant’s illegal conduct._ Plaintiff suffered actual damages and,
under § 22?(b)(3)(B)_. is entitled to, inter alia, a minimum of 3500.00 in damages for each such

violation of the 'fCPA.

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?0. Plaintiff is also entitled to_, and does, seek injunctive relief prohibiting Defendant,
Hunter Warfield, lnc. from violating the '[`CPA in the future.

WHEREFORE, Plairitiff respectfully demands a trial byjury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages and any

other such reliefthe court may deemjust and proper.

§MT_LL
(Vio|ation oi` the FDCPA)
?1. Plaintiffincorporates Paragraphs one (l) through sixty-four (64).
?2. At all times relevant to this action, Defendant is subject to and must abide by 15

U.S.C_ § 1692 et .i'eq.

73. Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d) by
willfully engaging in conduct the natural consequence of which is to harass_. oppress_. or abuse any
person in connection with the collection of a debt.

74. Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d)(5)
by causing a telephone to ring or engaging any person in telephone conversation repeatedly or
continuously with intent to annoy, abuse, or harass any person at the called number.

?5. Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(f) by
using unfair and unconscionable means to collect or attempt to collect any debt.

WI'IEREFORE, Plaintil"f` respectfully demands a trial by jury on all issues so triable and
judgment against for statutory damages, punitive damages, actual damages1 costsj interest, attorney

fees and any other such reliefthe court may deemjust and proper.

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COUNT lll
(Violation of the FCCPA)

?6. Plaintil"f incorporates Paragraphs one (|) through sixty-four (64).

??, At all times relevant to this action Defendant is subject to and must abide by the
law of Florida, including Florida Statute § 559.?2.

?8. Defendant has violated Florida Stattite § 559.?'2(?) by willfully communicating
with the debtor or any member of her family with such frequency as can reasonably be expected
to harass the debtor or her family.

?9. Defendant has violated Florida Statute § 559.?`2(?) by willfully communicating
with the debtor or any member of her family with such that this frequency can reasonably be
expected to harass the debtor or her family.

80. Defendant has violated Florida Statute § 559.72(9) by attempting to enforce a debt
when Defendant knows that the debt is not legitimate or assert the existence of some legal right
when Defendant knows that right does not exist.

81. Defendant’s actions have directly and proximately resulted in Plaintiff"s prior and

continuous sustaining of damages as described by Florida Statute §559.??.

10

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WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

interest, attorney fees, enjoinder of future illegal conduct, and any other such relief the court may

deem just and proper.

/._\'iJf Heri{hei' H. Jone.s'

l-leather H. Jories, Esq.

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